Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 1 of 32

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA and THE STATE OF
NEW YORK, ex rel., JEAN NOLAN

 

Plaintiff, 15-CV-0099(S)
Vv.
ELDERWOOD HEALTH CARE AT LINWOOD,
ELDERWOOD SENIOR CARE, INC., POST ACUTE
PARTNERS, AND DOES 1-100,

Defendants.

 

UNITED STATES’ AND STATE OF NEW YORK’S NOTICE OF INTERVENTION
IN PART FOR PURPOSES OF SETTLEMENT AND DECLINATION IN PART

Plaintiffs the United States of America and the State of New York, Relator Jean
Nolan, and the Defendants 4459 Bailey Avenue Operating Co., LLC, 225 Bennett Road
Operating Co., LLC, 2850 Grand Island Boulevard Operating Co., LLC, 5775 Maelou Drive
Operating Co., LLC, 1818 Como Park Boulevard Operating Co., LLC, 4800 Bear Road
Operating Co., LLC, 37 North Chemung Street Operating Co., LLC, 2600 Niagara Falls
Boulevard Operating Co., LLC, and 200 Bassett Road Operating Co., LLC, and Elderwood
Administrative Services, LLC (collectively the “Elderwood Entities”) have reached a
Settlement Agreement to resolve this action (See Attachment 1). In light of this agreement,
and for the purpose of effectuating and formalizing that resolution, pursuant to the False
Claims Act, 31 U.S.C. §§ 3730(b)(2) and (4), and New York State Finance Law § 190(2), the
United States of America and the State of New York respectfully advises the Court of their

decision to intervene in part and decline in part for the purposes of settlement.
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 2 of 32

Specifically, the United States of America and the State of New York intervenes in this
action with respect to civil claims predicated upon the factual allegations set forth in the
Settlement Agreement’s “Covered Conduct.” See Attachment 1, Paragraph D. The United
States of America and the State of New York decline intervention with respect to all other
claims alleged in this action.

Under the terms and conditions of the Settlement Agreement, the United States of
America, the State of New York, and Relator will file a Stipulation of Dismissal of the Civil
Action pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure following receipt
from the Defendant of the payment in Paragraph 4A(j) of the Settlement Agreement. See
Attachment I, Paragraph 4A(i) and Paragraph 22.

In light of the Settlement Agreement reached among the parties, the United States of
America and/or the State of New York do not presently intend to file a Complaint in
Intervention, but reserve the right to seek leave to file such a Complaint in the event that the
Defendants do not pay the full settlement amount consistent with the terms of the Settlement
Agreement.

The United States of America and the State of New York understand that, upon their
intervention in this action, the seal on the case will be lifted. However, the United States of
America and the State of New York respectfully request that the Court order the sealing of
the motions to extend time to consider intervention, along with the supporting memoranda
of law. The United States of America and the State of New York request that such papers be
filed under seal because they discuss the content and extent of the United States of America’s
and the State of New York’s investigation, and were provided by law to the Court alone for
the sole purpose of evaluating whether the seal and time for making an election to intervene

should be extended.
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 3 of 32

A proposed order is submitted herewith.

DATED: July 20, 2022
Buffalo, New York

DATED: July 20, 2022
Buffalo, New York

Respectfully submitted,

TRINI E. ROSS
United States Attorney

s/David M. Coriell

DAVID M. CORIELL
Assistant U.S. Attorney
Western District of New York
138 Delaware Avenue

Buffalo, New York 14202
(716) 843-5731

david.coriell@usdoj.gov

LETITIA JAMES
Attorney General
State of New York

s/Thomas Schleif

THOMAS SCHLEIF

Special Assistant Attorney General
New York State

Office of the Attorney General
Medicaid Fraud Control Unit
Main Place Tower

350 Main Street, Suite 300 B
Buffalo, New York 14202-3750
(716) 853-8505
thomas.schleif@ag.ny.gov
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 4 of 32

CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Notice of Intervention in Part for Purposes
of Settlement and Declination in Part (filed in camera and under seal) was mailed by first class

mail, postage prepaid to:

Counsel for Defendants

Brian M. Feldman

Harter Secrest & Emery LLP
1600 Bausch & Lomb Place
Rochester, NY 14604-2711

Laura K. Schwalbe

Harter Secrest & Emery LLP
50 Fountain Plaza, Suite 1000
Buffalo, NY 14202-2293

Counsel for Relator

David B. Harrison

Spiro Harrison

363 Bloomfield Avenue, Suite 2C
Montclair, NJ 07042
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 5 of 32

Attachment 1
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 6 of 32

SETTLEMENT AGREEMENT

This Settlement Agreement (“Agreement”) is entered into by and among the United
States of America, acting through the United States Department of Justice and on behalf of
the Office of Inspector General of the Department of Health and Human Services (OIG-HHS)
(collectively the “United States”); the State of New York, acting through the New York State
Office of the Attorney General, Medicaid Fraud Control Unit (“MFCU”) (hereinafter “New
York”); Relator Jean Nolan (“Relator”); and 4459 Bailey Avenue Operating Co., LLC, 225
Bennett Road Operating Co., LLC, 2850 Grand Island Boulevard Operating Co., LLC, 5775
Maelou Drive Operating Co., LLC, 1818 Como Park Boulevard Operating Co., LLC, 4800
Bear Road Operating Co., LLC, 37 North Chemung Street Operating Co., LLC, 2600
Niagara Falls Boulevard Operating Co., LLC, and 200 Bassett Road Operating Co., LLC,
and Elderwood Administrative Services, LLC (collectively the “Elderwood
Entities”). Collectively, all of the above will be referred to as “the Parties.” The Parties enter
into this Agreement through their authorized representatives.

RECITALS

A. 4459 Bailey Avenue Operating Co., LLC, 225 Bennett Road Operating Co.,
LLC, 2850 Grand Island Boulevard Operating Co., LLC, 5775 Maelou Drive Operating Co.,
LLC, 1818 Como Park Boulevard Operating Co., LLC, 4800 Bear Road Operating Co., LLC,
37 North Chemung Street Operating Co., LLC, 2600 Niagara Falls Boulevard Operating Co.,
LLC, and 200 Bassett Road Operating Co., LLC (the “Facilities”) are each privately held
New York limited liability companies, which own and operate facilities in New York that

provide post-acute health care services, including skilled nursing and inpatient rehabilitation.
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 7 of 32

The Facilities do business under the Elderwood brand, as follows:

Elderwood at Amherst: 4459 Bailey Avenue Operating Co., LLC
Elderwood at Cheektowaga: 225 Bennett Road Operating Co., LLC
Elderwood at Grand Island: 2850 Grand Island Boulevard Operating Co., LLC
Elderwood at Hamburg: 5775 Maelou Drive Operating Co., LLC
Elderwood at Lancaster: 1818 Como Park Boulevard Operating Co., LLC
Elderwood at Liverpool: 4800 Bear Road Operating Co., LLC

-Elderwood at Waverly: 37 North Chemung Street Operating Co., LLC
Elderwood at Wheatfield: 2600 Niagara Falls Boulevard Operating Co., LLC
Elderwood at Williamsville: 200 Bassett Road Operating Co., LLC

C. Elderwood Administrative Services, LLC (“EAS”) provides services to each of
the Facilities, including services supporting the provision and reimbursement of rehabilitation
services. EAS is a wholly owned subsidiary of Post Acute Partners Management LLC.

D. On or about February 3, 2015, Relator filed a gui tam action in the United States
District Court for the Western District of New York captioned United States of America and
State of New York, ex rel. Jean Nolan, v. Elderwood Health Care at Linwood, Elderwood Senior Care,
Inc, Post Acute Partners, and Does 1-100, Civ. No. 15-CV-99S (hereinafter referred to as “the
Civil Action”), pursuant to the gui tam provisions of the False Claims Act, 31 U.S.C. §
3730(b), and the New York State False Claims Act, N.Y. State Fin. Law § 190(2). An
Amended Complaint was filed on or about October 7, 2016, captioned United States of
America and State of New York ex rel. Jean Nolan, v. Post Acute Partners, Elderwood Senior Care,
Inc., and Does 1-100. On or about July 20, 2022, the United States and New York intervened,
in part, in the Civil Action for purposes of settlement.

E. The United States and New York contend that the Elderwood Entities
submitted or caused to be submitted false or fraudulent claims for payment to the Medicare
Program, Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395-13951 (“Medicare”),

and the Medicaid Program, Title XIX of the Social Security Act, 42 U.S.C. §§ 1396-1396w-5
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 8 of 32

(“Medicaid”), by billing for skilled nursing and rehabilitation services that were not
medically necessary.

F. The United States and New York contend that they have civil claims against
the Elderwood Entities for engaging in the following conduct during the period from August
1, 2013 through December 31, 2018 (hereinafter referred to as the “Covered Conduct”):

The Elderwood Entities knowingly submitted, or caused
to be submitted, false claims for payment to Medicare for
physical therapy, occupational therapy and speech
therapy services at the Facilities that were not medically
necessary. The submission of these medically
unnecessary claims resulted in artificially inflated Case
Mix Indexes at the Facilities, (the metric used to calculate
the cost of a skilled nursing facility’s treatment of its
Medicaid population), which, in turn, resulted in the
Facilities’ receipt of Medicaid payments to which they
were not entitled.

G. As between the Elderwood Entities and the United States, this Agreement is
neither an admission of liability by the Elderwood Entities nor a concession by the United
States that its claims are not well founded.

H. Relator claims entitlement under 31 U.S.C. § 3730(d) and N.Y. State Fin. Law
§ 190(6) to a share of the proceeds of this Settlement Agreement and to the Relator’s
reasonable expenses, attorneys’ fees and costs.

I. In consideration of the mutual promises and obligations of this Settlement
Agreement, the Parties agree and covenant as follows:

TERMS AND CONDITIONS

1. The Elderwood Entities shall pay to the United States the sum of Eight

Hundred Thirty-Seven Thousand, Six Hundred Fifty-Seven Dollars, and Fifteen Cents

($837,657.15), an amount referred to as the “United States Settlement Amount,” of which

Five Hundred Fifty-Eight Thousand, Four Hundred Thirty-Eight Dollars, and Ten Cents
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 9 of 32

($558,438.10) is restitution, by electronic funds transfer pursuant to written instructions from
the USAO-WDNY.

2. The Elderwood Entities shall pay to New York the sum of One Hundred
Twelve Thousand, Three Hundred Forty-Two Dollars, and Eighty-Five Cents ($112,342.85),
an amount referred to as the “New York Settlement Amount,” of which Seventy-Four
Thousand, Eight Hundred Ninety-Five Dollars, and Twenty-Three Cents ($74,895.23) is
restitution, by electronic funds transfer pursuant to written instructions from New York.

3. The amounts to be paid to the United States and New York pursuant to
Paragraphs 1-2, totaling Nine Hundred Fifty Thousand Dollars ($950,000) shall be
collectively referred to as the “Settlement Amount.” The Settlement Amount shall constitute
a debt immediately due and owing to the United States and New York on the Effective Date
of this Agreement, as defined in Paragraph 33 below.

4. (A) Payments Over Time: This debt shall be discharged by payments as follows:

1) Within thirty (30) days of the Effective Date of this Agreement, The
Elderwood Entities shall make a payment of Three Hundred Ninety
Thousand Dollars ($390,000) as follows:

a. The Elderwood Entities shall pay the United States the sum
of Three Hundred Thirty-Seven Thousand, Six Hundred
Fifty-Seven Dollars and Fifteen Cents ($337,657.15); and

b. The Elderwood Entities shall pay New York the sum of
Fifty-Two Thousand, Three Hundred Forty-Two
Dollars, and Eighty-Five Cents ($52,342.85).

2) On December 31, 2022, the Elderwood Entities shall make the
following payments:

a. The Elderwood Entities shall pay the United States the
sum of Two Hundred and Fifty Thousand Dollars
($250,000), plus interest at 1.625% per annum; and

b. The Elderwood Entities shall pay New York the sum of
Thirty Thousand Dollars ($30,000), plus interest at 1.625%
per annum.
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 10 of 32

3) On December 31, 2023, the Elderwood Entities shall make the
following payments:

a. The Elderwood Entities shall pay the United States the
sum of Two Hundred and Fifty Thousand Dollars
($250,000), plus interest at 1.625% per annum; and

b. The Elderwood Entities shall pay New York the sum of

Thirty Thousand Dollars ($30,000), plus interest at 1.625%
per annum.

(B) The Payments Over Time shall be secured by a Confession of Judgment.
The Elderwood Entities will execute an Affidavit of Confession of Judgment in
the amount of Nine Hundred and Fifty Thousand Dollars ($950,000), in the
form annexed as Exhibit A, simultaneously with the execution of this
Agreement.

(C) If the Elderwood Entities or any of their affiliates are sold, merged, or
transferred, or a significant portion of the assets of the Elderwood Entities or of
any of their affiliates are sold, merged, or transferred into another non-affiliated
entity, the Elderwood Entities shall promptly notify the United States and New
York, and all remaining payments owed pursuant to the Settlement Agreement
shall be accelerated and become immediately due and payable. The United
States and New York shall consider any request by the Elderwood Entities that
the United States and New York, in their sole discretion, waive the requirements
in this paragraph upon adequate assurances of payment of any outstanding
portions of the Settlement Amount.

(D) The Settlement Amount may be prepaid, in whole or in part, without

penalty or premium.
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 11 of 32

5. Conditioned upon the United States and New York receiving the Settlement
Amount, along with interest as provided pursuant to Paragraph 4(A)(2)-(3), the United States
and New York agree that they collectively shall pay to Relator, pursuant to 31 U.S.C. §
3730(d) and N.Y. State Fin. Law § 190(6), 19% of each such payment received under the
Settlement Agreement (the “Relator’s Share”). The Relator’s Share payments shall be made
pursuant to electronic funds transfer and/or check as soon as feasible after the United States’
and New York’s receipt of each payment from the Elderwood Entities. Relator expressly
understands and agrees that the United States and New York are only liable to the Relator
for a share of funds actually received or collected by the United States or New York that are
being used to satisfy the Elderwood Entities’ obligations under this Agreement.

6. Subject to the exceptions in Paragraphs 7 and 19 below (concerning reserved
claims and bankruptcy proceedings, respectively), and conditioned upon the United States’
receipt of the United States Settlement Amount plus interest due under Paragraph 4, the
United States releases the Elderwood Entities together with their current and former parent
corporations; direct and indirect subsidiaries; brother or sister corporations; divisions; current
or former corporate owners; and the corporate successors and assigns of any of them, from
any civil or administrative monetary claim the United States has for the Covered Conduct
under the False Claims Act, 31 U.S.C §§ 3729-3733; the Civil Monetary Penalties Law, 42
U.S.C. § 1320a-7a; the Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-3812, or the
common law theories of payment by mistake, unjust enrichment, and fraud.

7. Notwithstanding the releases given in Paragraph 6 above, or any other term of
this Agreement, the following claims and rights of the United States are specifically reserved

and are not released:
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 12 of 32

a. Any liability arising under Title 26, United States Code (Internal
Revenue Code);

b. Any criminal liability;

c. Except as explicitly stated in this Agreement, any administrative
liability or enforcement right, including mandatory or permissive
exclusion from federal health care programs;

d. Any liability to the United States (or its agencies) for any conduct
other than the Covered Conduct;

e. Any liability based upon obligations created by this Agreement;

f. Any liability for personal injury or property damage or for other
consequential damages arising from the Covered Conduct; and

g. Any liability of individuals.

8. Subject to the exceptions in Paragraphs 9 and 19 below (concerning reserved
claims and bankruptcy proceedings, respectively), and upon New York's receipt of the New
York Settlement Amount plus interest due under Paragraph 4, New York agrees to release
the Elderwood Entities together with their current and former parent corporations; direct and
indirect subsidiaries; brother or sister corporations; divisions; and the corporate successors
and assigns of any of them, from any civil monetary claims for the Covered Conduct that
New York has or may have against the Elderwood Entities under the New York False Claims
Act, N.Y. State Fin. Law §§ 187 et seg.; N.Y. Exec. Law § 63(12); N.Y. Soc. Serv. Law § 145-
b; or the common law or equitable theories of payment by mistake, unjust enrichment, and
fraud.

9. Notwithstanding the releases agreed to by New York in Paragraph 8 above, the
following claims of New York are specifically reserved and excluded from the scope and terms

of this Agreement:

a. Any civil, criminal or administrative liability arising under New York tax
law;

b. Any civil liability that the Eiderwood Entities have or may have under
any state statute, regulation, or rule not covered by this Agreement;

c. Any criminal liability;

d. Any administrative liability, including mandatory or permissive
exclusion from Medicaid;
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 13 of 32

e. Any liability to New York (or its agencies) for any conduct other
than the Covered Conduct;

f. Any liability for personal or property damage or for other
consequential damage arising from the Covered Conduct;

g. Any liability based upon obligations created by this Agreement; and

h. Any liability of individuals.

10. Subject to the exceptions in Paragraphs 7 and 9 above, and Paragraph 19 below,
(concerning reserved claims and bankruptcy proceedings, respectively), Relator, for herself
and for her heirs, successors, attorneys, agents, and assigns, releases the Elderwood Entities
together with their current and former parent corporations; direct and indirect subsidiaries;
brother or sister corporations; divisions; current or former corporate owners; and the
corporate successors and assigns of any of them, and its and their current and former owners,
officers, directors, members, employees, physicians, and agents, individually or collectively,
from any claim or cause of action the Relator has asserted or could assert on behalf of the
United States or New York for the Covered Conduct under the False Claims Act, 31 U.S.C
§§ 3729-3733, or the New York False Claims Act, N.Y. State Fin. Law §§ 187 et seg., as well
as any claims Relator has asserted, could have asserted, or may assert in the future, related to
the Covered Conduct or related to the allegations in the Civil Action, except for the following
claims:

a. Any retaliation claim under 31 U.S.C. § 3730(h) and N.Y. State Fin. Law §
191; and

b. Any claim for fees, expenses, or costs pursuant to 31 U.S.C. § 3730(d)(1) and
N.Y. State Fin. Law § 190(6).

11. Relator and her heirs, successors, attorneys, agents, and assigns shall not object
to this Agreement but agree and confirm that this Agreement is fair, adequate, and reasonable

under all the circumstances, pursuant to 31 U.S.C. § 3730(c)(2)(B). Conditioned upon

Relator’s receipt of the Relator’s Share set forth in Paragraph 5 above, Relator and her heirs,
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 14 of 32

successors, attorneys, agents, and assigns fully and finally release, waive, and forever
discharge the United States, its agencies, officers, agents, employees, and servants, from any
claims arising from the filing of the Civil Action or under 31 U.S.C. § 3730, and from any
claims to a share of the proceeds of this Agreement and/or the Civil Action.

12. _—_‘ Relator and her heirs, successors, attorneys, agents, and assigns shall not object
to this Agreement but agree and confirm that this Agreement is fair, adequate, and reasonable
under all the circumstances, pursuant to the New York False Claims Act, N.Y. State Fin.
Law § 190(5)(b)(ii). Conditioned upon Relator’s receipt of the Relator’s Share set forth in
Paragraph 5 above, Relator and her heirs, successors, attorneys, agents, and assigns fully and
finally release, waive, and forever discharge New York, its agencies, officers, agents,
employees, and servants, from any claims arising from the filing of the Civil Action or under
the New York False Claims Act, and from any claims to a share of the proceeds of this
Agreement and/or the Civil Action.

13. The Elderwood Entities waive and shall not assert any defenses the Elderwood
Entities may have to any criminal prosecution or administrative action relating to the Covered
Conduct that may be based in whole or in part on a contention that, under the Double
Jeopardy Clause in the Fifth Amendment of the Constitution, or under the Excessive Fines
Clause in the Eighth Amendment of the Constitution, this Agreement bars a remedy sought
in such criminal prosecution or administrative action.

14. The Elderwood Entities fully and finally release the United States and New
York, and their respective agencies, officers, agents, employees, and servants, from any claims
(including attorneys’ fees, costs, and expenses of every kind and however denominated) that

the Elderwood Entities have asserted, could have asserted, or may assert in the future against
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 15 of 32

the United States or New York, and their respective agencies, officers, agents, employees, and
servants, related to the Covered Conduct or the United States’ or New York’s investigation
or prosecution thereof.

15. The Elderwood Entities fully and finally release the Relator from any claims
(including attorneys’ fees, costs, and expenses of every kind and however denominated) that the
Elderwood Entities have asserted, could have asserted, or may assert in the future against the
Relator, related to Relator’s investigation and prosecution of the Covered Conduct.

16. The Settlement Amount shall not be decreased as a result of the denial of claims
for payment now being withheld from payment by any Medicare or Medicaid contractor (e.g.,
Medicare Administrative Contractor, fiscal intermediary, carrier or any state payer), related
to the Covered Conduct; and the Elderwood Entities agree not to resubmit to any Medicare
or Medicaid contractor or any state payer any previously denied claims related to the Covered
Conduct, agree not to appeal any such denials of claims, and agree to withdraw any such
pending appeals.

17. a. Unallowable Costs Defined: All costs (as defined in the Federal Acquisition
Regulation, 48 C.F.R. § 31.205-47; and in Titles XVIII and XIX of the Social Security Act,
42 U.S.C. §§ 1395-13951 and 1396-1396w-5; and the regulations and official program
directives promulgated thereunder) incurred by or on behalf of the Elderwood Entities, their
present or former officers, directors, employees, shareholders, and agents in connection with:

(1) the matters covered by this Agreement;

(2) the United States, or New York audit(s) and civil investigation(s)
of matters covered by this Agreement;

(3) The Elderwood Entities’ investigation, defense, and corrective
actions undertaken in response to the United States or New York
audit(s) and civil investigation(s) in connection with matters

covered by this Agreement (including attorneys’ fees);
(4) the negotiation and performance of this Agreement; and

10
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 16 of 32

(5) the payments the Elderwood Entities make to the United States
and New York pursuant to this Agreement and any payments
that the Elderwood Entities may make to Relator, including
costs and attorneys’ fees;
are unallowable costs for government contracting purposes and under the Medicare and
Medicaid Programs (hereinafter referred to as “Unallowable Costs”).
b. Future Treatment of Unallowable Costs: Unallowable Costs shall be separately

‘ 1

determined and accounted for by the Elderwood Entities, and the Elderwood Entities shall
not charge such Unallowable Costs directly or indirectly to any contracts with the United
States or any State Medicaid program, or seek payment for such Unallowable Costs through
any cost report, cost statement, information statement, or payment request submitted by the
Elderwood Entities or any of their subsidiaries or affiliates to the Medicare or Medicaid
Programs.

c. Treatment of Unallowable Costs Previously Submitted for Payment: The
Elderwood Entities further agree that within ninety (90) days of the Effective Date of this
Agreement they shall identify to applicable Medicare and Medicaid fiscal agents, any
Unallowable Costs (as defined in this paragraph) included in payments previously sought
from the United States, or any State Medicaid program, including, but not limited to,
payments sought in any cost reports, cost statements, information reports, or payment
requests already submitted by the Elderwood Entities or any of their subsidiaries or affiliates,
and shall request, and agree, that such cost reports, cost statements, information reports, or
payment requests, even if already settled, be adjusted to account for the effect of the inclusion
of the Unallowable Costs. The Elderwood Entities agree that the United States and New

York, at a minimum, shall be entitled to recoup from the Elderwood Entities any

overpayment plus applicable interest and penalties as a result of the inclusion of such

1]
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 17 of 32

Unallowable Costs on previously submitted cost reports, information reports, cost statements,
or requests for payment.

Any payments due after the adjustments have been made shall be paid to the United
States or New York pursuant to the direction of the Department of Justice and/or the affected
agencies. The United States and New York reserve their rights to disagree with any
calculations submitted by the Elderwood Entities or any of their subsidiaries or affiliates on
the effect'of inclusion of Unallowable Costs (as defined in this paragraph) on the Elderwood
Entities or any of their subsidiaries or affiliates’ cost reports, cost statements, or information
reports.

d. Nothing in this Agreement shall constitute a waiver of the rights of the United
States or New York to audit, examine, or re-examine the Elderwood Entities’ books and
records to determine that no Unallowable Costs have been claimed in accordance with the
provisions of this paragraph.

18. a. In the event that the Elderwood Entities fail to pay the United States
Settlement Amount as provided in the payment schedule set forth in Paragraph 4 above, the
Elderwood Entities shall be in default of the Elderwood Entities’ payment obligations
(“Default”) to the United States; and in the event that the Elderwood Entities fail to pay the
New York Settlement Amount as provided in the payment schedule set forth in Paragraph 4
above, the Elderwood Entities shall be in Default to New York. The United States and/or
New York will provide a written Notice of Default, and the Elderwood Entities shall have an
opportunity to cure such Default within seven (7) calendar days from the date of receipt of
the Notice of Default by making the payments due under the payment schedule and paying

any additional interest accruing under the Settlement Agreement up to the date of payment.

12
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 18 of 32

Notice of Default will be delivered to the Elderwood Entities or to such other representative
as the Elderwood Entities shall designate in advance in writing. If the Elderwood Entities fail
to cure the Default within seven (7) calendar days of receiving the Notice of Default and in
the absence of an agreement with the United States or New York to a modified payment
schedule (“Uncured Default”), the remaining unpaid balance of the Settlement Amount
become immediately due and payable, and interest on the remaining unpaid balance shall
thereafter accrue at the rate of 12% per annum, compounded daily from the date of Default,
on the remaining unpaid total (principal and interest balance). :

b. In the event of Uncured Default to the United States, the Elderwood
Entities agree that the United States may also, at its sole discretion, (i) retain any payments
previously made, rescind this Agreement and pursue the Civil Action or bring any civil and/or
administrative claim, action, or proceeding against the Elderwood Entities for the claims that
would otherwise be covered by the releases provided in Paragraph 6 above, with any recovery
reduced by the amount of any payments previously made by the Elderwood Entities to the
United States under this Agreement; (ii) take any action to enforce this Agreement in a new
action or by reinstating the Civil Action; (iii) offset the remaining unpaid balance from any
amounts due and owing to the Elderwood Entities and/or affiliated companies by any
department, agency, or agent of the United States at the time of Default or subsequently;
and/or (iv) exercise any other right granted by law, or under the terms of this Agreement or
recognizable at common law or in equity. The United States shall be entitled to any other
rights granted by law or in equity by reason of Default, including referral of this matter for
private collection. In the event the United States pursues a collection action, the Elderwood

Entities agree immediately to pay the United States the greater of (i) a ten percent (10%)

13
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 19 of 32

surcharge of the amount collected, as allowed by 28 U.S.C. § 3011(a), or (ii) the United States’
reasonable attorneys’ fees and expenses incurred in such an action. In the event that the
United States opts to rescind this Agreement pursuant to this paragraph, the Elderwood
Entities waive and agree not to plead, argue, or otherwise raise any defenses of statute of
limitations, laches, estoppel or similar theories, to any civil or administrative claims that are
(i) filed by the United States against the Elderwood Entities within 120 days of written
notification that this Agreement has been rescinded, and (ii) relate to the Covered Conduct,
except to the extent these defenses were available on the Effective Date of the Agreement.
The Elderwood Entities agree not to contest any offset, recoupment, and/or collection action
undertaken by the United States pursuant to this paragraph, either administratively or in any
federal or state court, except on the ground of actual payment to the United States.

Cc. In the event of Uncured Default to New York, the Elderwood Entities
agree that New York may also, at its sole discretion, (i) retain any payments previously made,
rescind this Agreement and pursue the Civil Action or bring any civil and/or administrative
claim, action, or proceeding against the Elderwood Entities for the claims that would
otherwise be covered by the releases provided in Paragraph 8 above, with any recovery
reduced by the amount of any payments previously made by the Elderwood Entities to New
York under this Agreement; (ii) take any action to enforce this Agreement in a new action or
by reinstating the Civil Action; (iii) offset the remaining unpaid balance from any amounts
due and owing to the Elderwood Entities and/or affiliated companies by any department,
agency, or agent of New York at the time of Default or subsequently; and/or (iv) exercise any
other right granted by law, or under the terms of this Agreement or recognizable at common

law or in equity. New York shall be entitled to any other rights granted by law or in equity

14
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 20 of 32

by reason of Default, including referral of this matter for private collection. In the event New
York pursues a collection action, the Elderwood Entities agree immediately to pay New York
the greater of (i) a ten percent (10%) surcharge of the amount collected, as allowed by 28
U.S.C. § 3011(a), or (i) New York’s reasonable attorneys’ fees and expenses incurred in such
an action. In the event that New York opts to rescind this Agreement pursuant to this
paragraph, the Elderwood Entities waive and agree not to plead, argue, or otherwise raise any
defenses of statute of limitations, laches, estoppel or similar theories, to any civil or
administrative claims that are (i) filed by New York against the Elderwood Entities within
120 days of written notification that this Agreement has been rescinded, and (ii) relate to the
Covered Conduct, except to the extent these defenses were available on the Effective Date of
the Agreement. The Elderwood Entities agree not to contest any offset, recoupment, and/or -
collection action undertaken by New York pursuant to this paragraph, either administratively

or in any federal or state court, except on the ground of actual payment to New York.

d. In the event of Uncured Default, OIG-HHS may exclude the Elderwood

Entities from participating in all federal health care programs until the Elderwood Entities

pay the Settlement Amount, with interest, as set forth above (Exclusion for Default). OIG-

HHS will provide written notice of any such exclusion to the Elderwood Entities. The:
Elderwood Entities waive any further notice of the exclusion under 42 U.S.C. § 1320a-7(b)(7),

and agree not to contest such exclusion either administratively or in any state or federal court.

Reinstatement to program participation is not automatic. If at the end of the period of
exclusion, the Elderwood Entities wish to apply for reinstatement, they must submit a written
request for reinstatement to OIG-HHS in accordance with the provisions of 42 C.F.R. §§

1001.3001-.3005. The Elderwood Entities will not be reinstated unless and until OIG-HHS

15
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 21 of 32

approves such request for reinstatement. The option for Exclusion for Default is in addition
to, and not in lieu of, the options identified in this Agreement or otherwise available.

19, In exchange for valuable consideration provided in this Agreement, the
Elderwood Entities acknowledge the following:

a. The Elderwood Entities have reviewed their financial situation and
warrant: that they are currently solvent within the meaning of 11 U.S.C. §§ 547(b)(3) and
548(a)(1(B)Gi)(), and expect to remain solvent following payment to the United States and
New York of the Settlement Amount.

b. In evaluating whether to execute this Agreement, the Parties intend that
the mutual promises, covenants, and obligations set forth herein constitute a
contemporaneous exchange for new value given to the Elderwood Entities, within the
meaning of 11 U.S.C. § 547(c)(1), and the Parties conclude that these mutual promises,
covenants, and obligations do, in fact, constitute such a contemporaneous exchange.

c. The mutual promises, covenants, and obligations set forth herein are
intended by the Parties to and do, in fact, constitute a reasonably equivalent exchange of
value.

d. The parties do not intend to hinder, delay, or defraud any entity to
which the Elderwood Entities were or became indebted to on or after the date of any transfer
contemplated in this Agreement, within the meaning of 11 U.S.C. § 548(a)(1).

e. If the Elderwood Entities’ obligations under this Agreement are avoided
for any reason (including but not limited to, through the exercise of a trustee’s avoidance
powers under the Bankruptcy Code) or if, before the Settlement Amount is paid in full, the

Elderwood Entities or a third party commences a case, proceeding, or other action under any

16
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 22 of 32

law relating to bankruptcy, insolvency, reorganization, or relief of debtors seeking any order
for relief of the Elderwood Entities’ debts, or to adjudicate the Elderwood Entities as bankrupt
or insolvent; or seeking appointment of a receiver, trustee, custodian, or other similar official
for the Elderwood Entities or for all or any substantial part of the Elderwood Entities’ assets,
(i) the United States and New York may rescind the releases in this Agreement and bring any
civil and/or administrative claim, action, or proceeding against the Elderwood Entities for
the claims that would otherwise be covered by the releases provided in Paragraphs 6 and 8
above; (ii) the United States and New York have an undisputed, noncontingent, and
liquidated allowed claim against the Elderwood Entities in the amount of Nine Hundred Fifty
Thousand Dollars ($950,000), less any payments received pursuant to this Agreement,
provided, however, that such payments are not otherwise avoided and recovered from the
United States or New York by the Elderwood Entities, a receiver, trustee, custodian, or other
similar official for the Elderwood Entities; and (iii) if any payments are avoided and recovered
by the Elderwood Entities, a receiver, trustee, custodian, or similar official for the Elderwood
Entities, Relator shall, within thirty days of written notice from the United States or New
York to the undersigned Relator’s counsel, return any portions of such payments already paid
by the United States or New York to Relator pursuant to Paragraph 5.

f. The Elderwood Entities agree that any civil and/or administrative claim,
action or proceeding brought by the United States or New York under Paragraph 19(e) is not
subject to an “automatic stay” pursuant to 11 U.S.C. § 362(a) because it would be an exercise
of the United States’ and New York’s police and regulatory powers. The Elderwood Entities
shall not argue or otherwise contend that the United States’ or New York’s claims, actions, or

proceedings are subject to an automatic stay and, to the extent necessary, consent to relief from

17
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 23 of 32

the automatic stay for cause under 11 U.S.C. § 362(d)(1). The Elderwood Entities waive and
shall not plead, argue, or otherwise raise any defenses under the theories of statute of
limitations, laches, estoppel, or similar theories, to any such civil or administrative claims,
actions, or proceedings brought by the United States or New York within 120 days of written
notification to the Elderwood Entities that the releases have been rescinded pursuant to this
paragraph, except to the extent such defenses were available on the Effective Date of the
Agreement.

20. This Agreement is intended to be for the benefit of the Parties only. The Parties
do not release any claims against any other person or entity, except to the extent provided for
in Paragraph 6, 8, 10, 11, 12 , 14, 15, and 21 (waiver for beneficiaries’ paragraph), below.

21. The Elderwood Entities agree that they waive and shail not seek payment for
any of the health care billings covered by this Agreement from any health care beneficiaries
or their parents, sponsors, legally responsible individuals, or third-party payers based upon:
the claims defined as Covered Conduct.

22. Upon receipt of the payment in Paragraph 4(A)(1), above, and subject to the
terms of the Agreement, the Parties shall promptly sign and file in the Civil Action a Joint
Stipulation of Dismissal of the Civil Action pursuant to Rule 41(a)(1) of the Federal Rules of
Civil Procedure.

23. Each Party shall bear its own legal and other costs incurred in connection with
this matter, including the preparation and performance of this Agreement, except as provided
in 31 U.S.C. § 3730(d) and N.Y. Fin. Law § 190(6).

24. Each Party and signatory to this Agreement represents that it freely and

voluntarily enters into this Agreement without any degree of duress or compulsion.

18
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 24 of 32

25. This Agreement is governed by the laws of the United States. The exclusive
jurisdiction and venue for any dispute relating to this Agreement is the United States District
Court for the Western District of New York. For purposes of construing this Agreement, this
Agreement shall be deemed to have been drafted by all parties to this Agreement and shall
not, therefore, be construed against any Party for that reason in any subsequent dispute.

‘26. This Agreement constitutes the complete agreement between the Parties. This
Agreement may not be amended except by written consent of the Parties. Forbearance by the
United States or New York from pursuing any remedy or relief available to it under this
Agreement shall not constitute a waiver of rights under this Agreement.

27. All non-electronic payments to New York shall be delivered to the Medicaid
Fraud Control Unit, Finance Department, 13th Floor, 28 Liberty Street, New York, New York
10005. Any other notices pursuant to this Agreement shall be in writing and shail, unless
expressly provided otherwise herein, be given by hand delivery, express courier and/or email

followed by postage prepaid first-class mail, and addressed as follows:

TO THE UNITED STATES:

Office of the United States Attorney
Affirmative Civil Enforcement Unit
138 Delaware Avenue

Buffalo, NY 14202

TO NEW YORK STATE:

Chief, Civil Enforcement Division

Medicaid Fraud Control Unit

New York State Office of the Attorney General
28 Liberty Street, 13" Floor

New York, NY 10005
MFCUNotices@ag.ny.gov

19
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 25 of 32

TO THE ELDERWOOD ENTITIES:
Brian M. Feldman
Harter Secrest & Emery LLP
1600 Bausch & Lomb Place
Rochester, New York 14604
bfeldman@hselaw.com
' -and -
Attention: Controller
Elderwood Administrative Services
‘500 Seneca Street, Suite 100 |
Buffalo, New York 14204
TO RELATOR:
David B. Harrison
830 Morris Turnpike, 2nd Floor
Short Hills, NJ 07078
28. The undersigned counsel and other signatories represent and warrant that they
are fully authorized to execute this Agreement on behalf of the persons and entities indicated
below.
29. This Agreement may be executed in counterparts, each of which constitutes an
original and all of which constitute one and the same Agreement.
30. This Agreement is binding on the Elderwood Entities’ successors, transferees,
heirs, and assigns.
31. This Agreement is binding on Relator’s successors, transferees, heirs, and
assigns.

32. All Parties consent to the United States’ and New York’s disclosure of this

Agreement and information about this Agreement to the public.

20
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 26 of 32

33. The Elderwood Entities agree with New York that the Elderwood Entities shall
not take any action or make or permit to be made any statement denying, directly or
indirectly, any contentions and provisions in this Agreement with New York or creating the
impression that their Agreement with New York is without factual basis. Nothing in this
paragraph affects any Elderwood Entity’s testimonial obligations or its right to take legal or
factual positions in any litigation or other legal proceedings to which the Attorney General is
not a‘party.

34, This Agreement is effective on the date of signature of the last signatory to the
Agreement (“Effective Date of this Agreement”). Facsimiles and electronic transmissions of

signatures shall constitute acceptable, binding signatures for purposes of this Agreement.

[signatures to follow|

21
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 27 of 32

THE UNITED STATES OF AMERICA

TRINI E. ROSS
United States Attorney
Western District of New York

DATED: _7/ [9 [ A02Z By, LH (; 2 OD)

DAVID M. CORIELL
Assistant United States Attorney
Western District of New York

patep: 7/6908 BY: Renv-® fe p

LISA M. RE
Assistant RE col General for Legal Affairs
Office of Counsel to the Inspector General
Office of Inspector General
U.S. Department of Health and Human Services

NEW YORK STATE

LETITIA JAMES
Attorney General
State of New York

DATED: BY:

 

THOMAS SCHLEIF

Special Assistant Attorney General
New York State

Office of the Attorney General

22
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 28 of 32

THE UNITED STATES OF AMERICA

TRINIE. ROSS
United States Attorney
Western District of New York

DATED: BY:

 

DAVID M. CORIELL
Assistant United States Attorney
Western District of New York

DATED: BY:

 

LISA M. RE

Assistant Inspector General for Legal Affairs
Office of Counsel to the Inspector General
Office of Inspector General

U.S. Department of Health and Human Services

NEW YORK STATE

LETITIA JAMES
Attorney General
State of New York

DATED: 6/24/2022 BY: BOP

THOMAS SCHLEIF

Special Assistant Attorney General
New York State

Office of the Attorney General

 

22
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 29 of 32

THE ELDERWOOD ENTITIES — DEFENDANT

DATED: “uly 19, 2022 By: ( Rhy fl

PHIL’ QUILLARD
Authorized Representative
Elderwood Entities

DATED: _Soly 14, 2022 BY: Lu ZA

BRIAN M. FELDMAN
Harter Secrest & Emery LLP
Counsel for the Elderwood Entities

 

 

DATED: __ BY:

 

JEAN NOLAN
Relator

DATED: __ BY:

 

DAVID HARRISON, ESQ.
Counsel for Relator

23
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 30 of 32

THE ELDERWOOD ENTITIES — DEFENDANT

DATED: BY:

 

PHIL QUILLARD
Authorized Representative
Elderwood Entities

 

DATED: BY: :
BRIAN M. FELDMAN

Harter Secrest & Emery LLP
Counsel for the Elderwood Entities

JEAN NOLAN — RELATOR

pDatTeED: &\as\ao22 py Dep» Oo

JEAN NOLAN
Relator
DATED: __7/5/22 py. David Navesen

 

DAVID HARRISON, ESQ.
Counsel for Relator

23
 

Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 31 of 32

Exhibit A
Case 1:15-cv-00099-WMS Document 59 Filed 07/29/22 Page 32 of 32

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA and THE STATE OF
NEW YORK, ex rel., JEAN NOLAN

Plaintiff, 15-CV-0099(S)
v.
ELDERWOOD HEALTH CARE AT LINWOOD,
ELDERWOOD SENIOR CARE, INC., POST ACUTE
PARTNERS, AND DOES 1-100,

Defendants.

 

ORDER
Upon consideration of the United States’ Notice of Intervention in Part for Purposes
of Settlement and Declination in Part, it is hereby
ORDERED that the seal on the above-captioned case be lifted except as to the
United States’ motions to extend time to consider intervention, along with supporting

memoranda of law, which documents shall be sealed and/or remain sealed.

SO ORDERED.

This ss dayof__— —“Cti‘“(;CSC*«SsC 2.

 

Hon. William M. Skretny
United States District Judge
